                        IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION




 PRETERM-CLEVELAND, et al.,

 Plaintiffs,
                                                          Case No.: 1:19-cv-00360
 v.
                                                          Judge Michael R. Barrett
 ATTORNEY GENERAL OF OHIO, et al.
                                                          PLAINTIFFS' OPPOSITION
 Defendants                                               TO DEFENDANT’S
                                                          EMERGENCY MOTION TO
                                                          DISSOLVE INJUNCTION

       PLAINTIFFS' OPPOSITION TO DEFENDANT’S EMERGENCY MOTION TO
                           DISSOLVE INJUNCTION

       Today, the Supreme Court issued its opinion in Dobbs v. Jackson Women’s Health
Organization (“Jackson Women’s Health Organization”), No. 19-1392; slip op. (U.S. June 24,
2022). Within hours, Defendant Ohio Attorney General David Yost filed an “emergency”
motion to dissolve the preliminary injunction this Court entered on July 3, 2019. ECF No. 96.
The Court requested a response from Plaintiffs by 3:00 p.m. EDT today. This case is currently
stayed by order of this Court pending final disposition of all appeals and petitions for certiorari in
Preterm-Cleveland v. Himes, No. 18-3329, and Memphis Ctr. For Reprod. Health v. Slattery,
No. 20-5969. Preterm-Cleveland v. Yost, No. 1:19-CV-00360, 2020 WL 1932851 (S.D. Ohio
Mar. 30, 2020).

      a. Federal Rule of Civil Procedure 65(b) Is Inapplicable

        As an initial matter, Defendant improperly relies on Rule 65(b)(4) for his Motion. Rule
65(b)(4) is inapplicable. Rule 65(b) applies to Temporary Restraining Orders issued without
notice, not Preliminary Injunctions issued after notice, briefing and hearing. See Fed. R. Civ. P.
65(b). The Court should deny Defendant’s request to expedite resolution of this motion on this
basis alone. 1
        This Court’s standard rule for opposing a motion gives a party twenty-one days after the
date of service of the motion to file an opposition. S.D. Ohio Civ. R. 7.2(a)(2). Under this rule,
Plaintiff’s memorandum in opposition is due July 15, 2022. 2 Plaintiffs intend to respond
substantively to Defendant’s motion on or before this deadline.

   b. This Court Should Wait to Resolve Any Motion to Vacate the Injunction Until the
      Supreme Court Has Issued its Judgment in Jackson Women’s Health Organization

        Defendant’s motion is premature. While the Supreme Court’s judgment was entered onto
the docket today, the judgment will s not issue for at least another 25 days. See U.S. Sup. Ct. R.
41 (“Opinions of the Court will be released by the Clerk immediately upon their announcement
from the bench, or as the Court otherwise directs. Thereafter, the Clerk will cause the opinions to
be issued in slip form . . . .”); U.S. Sup. Ct. R. 44.1 (“Any petition for the rehearing of any
judgment or decision of the Court on the merits shall be filed within 25 days after entry of the
judgment or decision, unless the Court or a Justice shortens or extends the time.” (emphasis
added)); U.S. Sup. Ct. R. 45.1-3.

        The Supreme Court Rules, along with Stern & Gressman, draw a distinction between the
entrance of judgment and the issuance of judgment to the lower court, which occurs 25 days after
the entry of judgment, unless a timely petition for rehearing has been filed, in which case
judgment is issued upon disposition of that. See supra; Stephen M. Shapiro, et al., Supreme
Court Practice § 15.8, p. 848 (10th ed.). Thus, in Jackson Women’s Health Organization, any
petition for rehearing on the merits may be filed any time before July 19. This Court should not

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          Even if Rule 65(b)(4) did apply to the Preliminary Injunction entered in this case,
which it does not, the Rule requires Defendant provide Plaintiffs with “2 days’ notice” that it will
“move to dissolve or modify the order.” Fed. R. Civ. P. 65(b)(4). Defendant provided Plaintiffs
with no such notice. While the Court may set “shorter notice,” Fed. R. Civ. P. 65(b)(4), it did not
do so here. Rather, the Court requested that Plaintiffs respond to Defendant’s improper motion
to dissolve the Preliminary Injunction only after the motion was filed. There was no notice.
       2
         Similarly, Defendant’s request that this Court “dismiss this case,” ECF No. 96 at 2, is
unquestionably improper. A tacked-on clause asking this Court to dismiss this case, in lieu of an
actual motion to dismiss, is not proper. In the event the Court does consider this request an
appropriate mechanism by which to move for a dismissal and determine that dismissal is
appropriate, Plaintiffs are again entitled to 21 days in which to respond. Moreover, even if the
Court were inclined to consider the request and dismiss the case, the Court should dismiss this
case without prejudice. Dismissal without prejudice would not be prejudicial to Defendant
because Defendant has expended little effort in this case and there is no “plain legal prejudice”
that would result from a dismissal without prejudice. See Grover by Grover v. Eli Lilly & Co.,
33 F.3d 716, 718 (6th Cir. 1994)
make any ruling on the preliminary injunction in this case based on Dobbs prior to the issuance
of the judgment and the expiration of the 25 days for a petition for rehearing to be filed.

   c. The Equities Do Not Favor an “Emergency” Motion to Vacate the Injunction

        Defendant has not, and cannot, demonstrate why any “emergency” exists here such that
the Court should decide Defendant’s motion in an expedited manner–and in particular, on less
than one day’s notice. If anything, Defendant’s motion creates an emergency for Plaintiffs and
all Ohioans seeking abortion care when there is no need to do so. The lengthy Jackson Women’s
Health Organization decision was entered today. Practitioners, legal scholars, and reproductive
care practitioners are still reading the opinion and debating its implications. A motion to vacate
the injunction mere hours after the opinion was entered has already created confusion among
Plaintiffs and their patients, and the Court lifting the preliminary injunction on an emergency
basis would sow chaos, as Plaintiffs are serving patients today and have patients scheduled to
receive care in the coming days.

        Indeed, even the Rule on which Defendant improperly relies notes that, when faced with
a motion to dissolve, the Court should “hear and decide the motion as promptly as justice
requires.” Fed. R. Civ. P. 65(b)(4). Justice requires that Plaintiffs, and this Court, have more
time to understand the implications of Jackson Women’s Health Organization. There is no
reason to depart from this Court’s usual procedures.

       For all the reasons stated above, this Court should deny Defendant’s motion.




                                                     Respectfully submitted,

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